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ze" 8 IN RE: OIL SPILL by “Deepwater Horizon”
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DIRECT FILING SHORT FORM’

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aN wn _ Aaitierizes by Order of the Court, Givi; Action No. 10 md 2179 Rec. Doc. 962
“ (Caples oF aid Order having also been filed In Civil Actions No. 10-9688 and 10-2771)

YOGE CARL BARBIER
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ument, | am asserting a claim In Complaint end Pe Asset Leasing GmbH, et

al, No. 10-2774; adopt and Incorporate the Master Answer (Rec, Dos. 244] to the Complaint and Patition of Triten
Asset Leasing Gmbh, at al., in No, 10-2771; and/or intervene into, joln and othenviee adopt the Master Complaint
[Rec. Doc, 879} for private economic losses ("B1 Sundia”) fited In MDL No. 2179 (10 md 2179); and/or intervene
Into, jain and otherwise adopt the Master Complaint [Rec, Doc. 884) for post-explosion injuries (“BS Bundie")
filed in MDL No. 2179 (40 md 2178).

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Calder. Viena a}, LPs 4 Ost Last 4 digits of your Tax 1D Number
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Claim filed with BP? yes 0 No Clem Flied wih GOCF?: YES no (1

It yes, BP Claim No.: ifyos, Clalnant identification No.:

dain Type (Please check all that apply}:
Damage of destruction to reel or pargonal praparty
Gaminge/Proft Loar
Pergonal tnjury/Death

Fear of Future Injury and/or Medical Morttoring
Logs of Subslatance use of Natural Resources
Removal and/or clean-up costs

Other:

* This form should be filed with the U.5. Distriet Court for the Easter Distric: of Loulslana In New Orleans, Louisiana in Gil Action Ne. 10-8888. Whilx this Direct
Filing Short Form Is ta be flied in CA No, 10-8888, by prlor order of tha Court, {Rec Doc, 246, CA. No, 10-2771 and Rec: Doc, 962 ta MDL 2179), the filing of this form
in CA, No. J0-BS66 shall he deemed to be simuttanecusty Aled INCA, 10-2771 and MDL 2179, Plaintiff Liaison Counsel, after being natified electronically by the Clerk
of Caurt of the filing of this Shart Form, shail promptly serve this farm through tha berle Nexis service syrtern of Defense Lialaan.

The thing of thie Direct Fiting Short Form snail alsa serve in flew of tha requirement of @ Plainty to fe « Plaintiff Profs Porm.

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Case 2:10-md-02179-CJB-SS Document 983-3 Filed 01/12/1 4 Page 2 of 3

‘Brief Description:
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involving real estatesproperty, include the property
damage occurred, For claims relating to fishing of any

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Case 2:10-md-02179-CJB-SS Document 983-3 Filed 01/12/11 Page 3 of 3

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Commercial fisherman, ahimper, crabber, or oysterman, or the owner and oparator of a business Invaking fishing, shrimping,
crabbing or oystering,

Seafood procusscr, distributor, retal and seafood marti, or rastaurant owner and operator, or an employee thereof.

Recrostional businece owner, oporator or worker, Including a recreational fishing businesa, gommearcial quide service, or charter
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supply. raal estate agents, and supply companias, or an employe thareef,

x Recreational sport fishermen, recreational diver, baachgosr, or recraationel boster.
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Owner, lessor, of leseee of real property sileged to ba damaged, harmed of Impacied, physically of economicsily, inctuding
lacsean of oyster beds. .

Da, Hotel awner and operates, vacation remail ownar and age, or af thas who #arn thelr living from tne tourism industry.

1. Boat ceptain or crew Involved in the Vossela of Opportunity program.
2. Worker involved in decontaminating vessela ihat came Into contact with ofl and/or chemical dispersante.

Sco. Vessel captain or crew who was not involved in tha Vessels of Opportunity program but who ware exposed to harmfut chemicals,
odors and emissions during post-explogion Cleat-up activities.

ws Claan-up worker of boach personnel invobwed In clearrup activities along shoretines and intercosetal and Intertidal Zonas.

8, Resident who lives or works in close proximily to coastal waters.
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Both BP and the Gulf Coast Claims Facility GCCF") are hereby authorized to retease to the Defendants In MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
yment on the claim, subject to such information belng trea.ad a3 "Confidential Access Restricted” under the Onder
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full coples of same being made available to both
the Plaintéf (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel,

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Print Name

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